Case 3:09-cr-00049   Document 543   Filed 01/15/13   Page 1 of 7 PageID #: 2728
Case 3:09-cr-00049   Document 543   Filed 01/15/13   Page 2 of 7 PageID #: 2729
Case 3:09-cr-00049   Document 543   Filed 01/15/13   Page 3 of 7 PageID #: 2730
Case 3:09-cr-00049   Document 543   Filed 01/15/13   Page 4 of 7 PageID #: 2731
Case 3:09-cr-00049   Document 543   Filed 01/15/13   Page 5 of 7 PageID #: 2732
Case 3:09-cr-00049   Document 543   Filed 01/15/13   Page 6 of 7 PageID #: 2733
Case 3:09-cr-00049   Document 543   Filed 01/15/13   Page 7 of 7 PageID #: 2734
